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 5
                                  UNITED STATES DISTRICT COURT
 6
                                         DISTRICT OF NEVADA
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 8
     UNITED STATES OF AMERICA,         )
 9                                     )
               Plaintiff,              )
10                                     )
   vs.                                 )                 2:10-cr-203-GMN-GWF
11                                     )
   CHOON BOK LEE,                      )
12                                     )
               Defendant.              )                         ORDER
13 ____________________________________)
14
            On December 8, 2011, the Court granted the defendant’s petition for new counsel, and
15
     ordered new counsel (#72). Therefore;
16
            IT IS HEREBY ORDERED that Chris T. Rasmussen, Esq. is appointed as counsel for Choon
17
     Bok Lee in place of the Federal Public Defender for all future proceedings.
18
            IT IS FURTHER ORDERED that the Federal Public Defender shall forward the file to
19
     Mr. Rasmussen forthwith.
20
21          DATED this 13th day of December, 2011.
22          Nunc Pro Tunc: December 12, 2011.
23
                                                         _____________________________________
24                                                       GLORIA M. NAVARRO
                                                         United States District Judge
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